         Case 23-21225-RG               Doc 3      Filed 12/01/23 Entered 12/01/23 15:51:09                     Desc Main
                                                   Document      Page 1 of 9




                                               United States Bankruptcy Court
                                                         District of New Jersey
 In re   Freight Connections Inc.                                                             Case No.
                                                                    Debtor(s)                 Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Interim Chief Executive Officer & Interim President of the corporation named as the debtor in this case, hereby verify that the

attached list of creditors is true and correct to the best of my knowledge.




Date:     December 1, 2023                              /s/ Sebastian Giordano
                                                        Sebastian Giordano/Interim Chief Executive Officer & Interim
                                                        President
                                                        Signer/Title
    Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                               Document      Page 2 of 9


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                       1 Bell Drive Ridgefield NJ LLC
                       100 Terminal Street
                       Charlestown, MA 02129


                       456 Nordhoff Holdings LLC
                       5308 13th Ave Suite 602
                       Brooklyn, NY 11219


                       686 Grand Corporation
                       686 Grand Avenue
                       Ridgefield, NJ 07657


                       A & G Pallets
                       3100 Dell Ave
                       North Bergen, NJ 07047


                       Adapa
                       411 State Route 17
                       Hasbrouck Heights, NJ 07604


                       Alfonseca, Rafael
                       240 Anderson Street, Atp 4E
                       Hackensack, NJ 07601


                       Arnold, Jason
                       84 Boston Avenue
                       North Arlington, NJ 07031


                       Chousa, Daniel A.
                       610 Sewall Avenue. Apt 13R
                       Asbury Park, NJ 07712


                       CHTD Company
                       PO Box 2576
                       Springfield, IL 62708


                       Cole Schotz P.C.
                       25 Main Street
                       P.O. Box 800
                       Attn: Leo V. Leyva, Esq.
                       Hackensack, NJ 07602


                       Corbisiero, Benjamin J.
                       92 Summit Avenue
                       Waldwick, NJ 07463
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 3 of 9



                   Corbisiero, Christina
                   92 Summit Avenue
                   Waldwick, NJ 07463


                   Corbisiero, Joseph J.
                   70 Ocean Drive
                   Punta Gorda, FL 33950


                   Cougar Express - FC
                   PO Box 398
                   Valley Stream, NY 11582


                   CT Corporation
                   330 N Brand Blvd, Suite 700 Att. SPRS
                   Glendale, CA 91203


                   Diorio, Jaqueline
                   3031 Edwin Avenue, Apt 2G
                   Fort Lee, NJ 07024


                   Dixon, Michael M.
                   160 Farnham Ave, Apt #2
                   Lodi, NJ 07644


                   Enderica, Yesenia P.
                   18 Alfred Avenue, 2nd Floor
                   Passaic, NJ 07055


                   Estes Express Lines
                   PO Box 25612
                   Richmond, VA 23260-5612


                   Evans Quality Coffee Service
                   152 Redneck Avenue
                   Moonachie, NJ 07074


                   F&T Trucking, Inc - FC
                   6900 Nolan Avenue
                   North Bergen, NJ 07047


                   Flores, Guillermo
                   4409 Palisades Avenue, #8
                   Union City, NJ 07087
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 4 of 9



                   Freight Connections LLC
                   2531 94th Street
                   North Bergen, NJ 07047


                   Frey, Antonella
                   521 South Sterling Road
                   South Sterling, PA 18460


                   Gad, Nicole
                   310 Prospect Avenue, Apt 302
                   Hackensack, NJ 07601


                   Gerber Companies LLC - FC
                   PO BOX 215
                   Stilwell, KS 66085


                   Glen Raven Logistics
                   PO Box 602308
                   Charlotte, NC 28260-2308


                   Helmbold, Tristan
                   29 Lindbergh Parkway
                   Waldwick, NJ 07463


                   Hercules Industrial Equipment, LLC
                   129 Lincoln Blvd.
                   Middlesex, NJ 08846


                   Hiza & Hiza, LLC
                   516 Lafayette Avenue
                   Hawthorne, NJ 07506


                   Horizon Advisors - FC



                   HYG Financial Services, Inc.
                   PO Box 35701
                   Billings, MT 59107


                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 5 of 9



                   International Plastics Co.
                   PO Box 60974
                   Staten Island, NY 10306


                   IPFS Corporation
                   PO Box 412086
                   Kansas City, MO 64141-2086


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                   3550 Bivona Street, 3H
                   Bronx, NY 10475


                   Ivey, Racorda D.
                   432 East 3rd Street
                   Mount Vernon, NY 10553


                   JACKPOT PETROLEUM 35629
                   1616 Bergen Blvd
                   Fort Lee, NJ 07024


                   Johnson, Batron R.
                   1181 Summit Avenue
                   Teaneck, NJ 07666


                   Joseph Corbisiero
                   6 Maryland Road
                   Tuckerton, NJ 08087


                   Joseph, Terrell M.
                   92 Neptune Avenue
                   Jersey City, NJ 07305


                   K.W Rastall Oil
                   PO Box 7174
                   North Brunswick, NJ 08902


                   King Cargo, Ltd
                   830 W State Rte 22 Ste 130
                   Lake Zurich, IL 60047


                   Kolakowski, Richard J.
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 6 of 9



                   Lamorte, Joseph W.



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                   Linden, NJ 07036


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                   156 Van Buren Street
                   Passaic, NJ 07055


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                   PO Box 608
                   Ridgefield Park, NJ 07660


                   Master Truck Solutions Inc - FC (Dumpste
                   PO Box 608
                   Ridgefield Park, NJ 07660


                   Mediterranean Shipping Company (USA) Inc
                   420 Fifth Avenue
                   New York, NY 10018


                   Mode Transportation, LLC
                   14785 Preston Road, Ste 850
                   Dallas, TX 75254


                   National Road Services
                   PO Box 8357
                   Jersey City, NJ 07308
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 7 of 9



                   Navitend
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                   Stanhope, NJ 07874


                   Network Digital
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                   Pine Brook, NJ 07058


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                   Compliance and Enforcement - Bankr. Unit
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                   NJ Manufacturers Insurance Co
                   301Sullivan Way
                   Trenton, NJ 08628


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                   Pearce Law, LLC Attorney Trust Acct
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Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 8 of 9



                   Powers, Melissa D.
                   1014 Terry Road
                   Ronkonkoma, NY 11779


                   Price, Meese, Shulman & D’Arminio, P.C.
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                   Woodcliff Lake, NJ 07677


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                   Hillside, NJ 07205


                   PromptMD
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                   Shalhoub, David
                   346 Larch Avenue
                   Bogota, NJ 07603


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                   Dept AT 952490
                   Atlanta, GA 31192-2490


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                   1616 Bergen Blvd
                   Fort Lee, NJ 07024
Case 23-21225-RG   Doc 3   Filed 12/01/23 Entered 12/01/23 15:51:09   Desc Main
                           Document      Page 9 of 9



                   Tumino's Towing, Inc.
                   37 Emerson Street
                   Ridgefield Park, NJ 07660


                   U.S. Small Business Administration
                   2 North Street, Suite 320
                   Birmingham, AL 35203


                   Vandaleigh LLC
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                   Towaco, NJ 07082-0208


                   Ward Trucking
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                   Werner Logistics
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